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 1   PILLSBURY WINTHROP SHAW PITTMAN LLP
     GREG L. JOHNSON 132397
 2   CHRISTOPHER RODRIGUEZ 212274
     400 Capitol Mall, Suite 1700
 3   Sacramento, CA 95814-4419
     Telephone: (916) 329-4700
 4   Facsimile: (916) 441-3583

 5   Attorneys for Defendant
     BEAR CREEK STORES, INC. dba
 6   HARRY AND DAVID

 7

 8                      UNITED STATES DISTRICT COURT

 9                     EASTERN DISTRICT OF CALIFORNIA

10                          SACRAMENTO DIVISION

11
                                        )
12   GARY PALMER,                       )   Case No. CIV.S-05-1935 MCE GGH
                                        )
13                           Plaintiff, )   STIPULATION AND ORDER FOR
                                        )   EXTENSION OF TIME TO FILE
14          vs.                         )   RESPONSIVE PLEADING
                                        )
15   CHELSEA FINANCING PARTNERSHIP,     )
     LP; AEROGROUP RETAIL HOLDINGS,     )   Complaint Filed: September 23, 2005
16   INC. dba AEROSOLES #817; PACIFIC   )
     BRANDS RETAIL GROUP I, INC. dba    )   Judge: Morrison C. England, Jr.
17   BALBOA BEACH COMPANY; BEBE         )
     STORES, INC. dba BEBE STORE #719;  )
18   BIG DOG USA, INC. dba BIG DOG      )
     SPORTSWEAR #209; RETAIL BRAND      )
19   ALLIANCE, INC. dba BROOKS          )
     BROTHERS; SKETCHER USA, INC. dba   )
20   SKETCHER’S USA #1215; THE WILLIAM )
     CARTER COMPANY dba CARTER’S        )
21   CHILDRENWEAR #659; RETAIL BRAND )
     ALLIANCE, INC. dba CASUAL CORNER )
22   AND PETITE SOPHISTICATE OUTLET;    )
     CLAIRE’S BOUTIQUES, INC. dba       )
23   CLAIRE’S BOUTIQUES; THE DRESS      )
     BARN, INC. dba DRESSBARN #2860;    )
24   EDDIE BAUER, INC. dba EDDIE BAUER; )
     BROWN GROUP RETAIL, INC. dba       )
25   FACTORY BRAND SHOES; LCUT          )
     RETAIL STORES dba FABERWARE;       )
26   FOSSIL STORES I, INC. dba FOSSIL   )
     STORE; PHILLIPS-VAN HEUSEN         )
27                                      )
                                        )
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 1   CORPORATION dba GEOFFREY BEENE )
     #18; GAP (TEXAS) L.P. dba GAP; KIM    )
 2   DONGMOON dba GILCHRIST GALLERY; )
     GLASSWARE HOUSE, INC. dba             )
 3   GLASSWARE HOUSE; BEAR CREEK           )
     STORES, INC. dba HARRY AND DAVID; )
 4   THE IZOD CORPORATION dba IZOD         )
     #727; K B TOY OF CALIFORNIA, INC. dba )
 5   K B TOY LIQUIDATORS #4280; JONES )
     RETAIL CORP. dba KASPER; THE          )
 6   KITCHEN COLLECTION dba KITCHEN )
     COLLECTION FACTORY OUTLET; COLE )
 7   SPC, LLC dba KENNETH COLE;            )
     SARAMAR, LLC dba L’EGGS HANES         )
 8   BALI PLAYTEX #126; HOUSEWARES         )
     STORES OF CALIFORNIA, INC. dba LE )
 9   GOURMET CHEF; HUB DISTRIBUTING, )
     INC. dba LEVIS OUTLET BY MOST; TOO, )
10   INC. dba LIMITED TOO; LITTLE ME       )
     RETAIL STORES OF CAMARILLO,           )
11   CALIFORNIA LLC dba LITTLE ME; L.C. )
     FOOTWEAR, LLC dba LIZ CLAIBORNE; )
12   MOTHERS WORK, INC. dba                )
     MOTHERHOOD MATERNITY #1652;           )
13   BROWN GROUP RETAIL, INC. dba          )
     NATURALIZER SHOES; NAUTICA            )
14   RETAIL USA, INC. dba NAUTICA; NIKE )
     RETAIL SERVICES, INC. dba NIKE        )
15   FACTORY OUTLET; NINE WEST             )
     GROUP, INC. dba NINE WEST OUTLET )
16   STORE #2516; OSHKOSH B’ GOSH          )
     RETAIL, INC. dba OSHKOSH B’ GOSH      )
17   #135; PACIFIC SUNWEAR STORES,         )
     CORP. dba PACIFIC SUNWEAR;            )
18   MAGIFQUE PERFUME AND                  )
     COSMETICS, INC. dba PERFUMANIA;       )
19   PUMA NORTH AMERICA, INC. dba          )
     PUMA; ROCKY MOUNTAIN                  )
20   CHOCOLATE FACTORY, INC. dba           )
     ROCKY MOUNTAIN CHOCOLATE              )
21   FACTORY; RUE21, INC. dba RUE 21;      )
     SCCA, LLC dba SAKS OFF FIFTH          )
22   AVENUE; SAMSONITE COMPANY             )
     STORES, INC. dba SAMSONITE            )
23   COMPANY STORE; SARAMAR, LLC dba )
     SOCKS GALORE & MORE #85; D.S.A.       )
24   ENTERPRISES, INC. dba SPORTS FEVER; )
     STRIDE RITE CHILDREN’S GROUP, INC. )
25   dba STRIDE RITE OUTLET #6035;         )
     STYLES FOR LESS, INC. dba STYLES      )
26   FOR LESS; SUNGLASS HUT TRADING )
     CORPORATION dba SUNGLASS HUT          )
27   #2963; THE BOMBAY COMPANY #176; )
     JOCKEY INTERNATIONAL GLOBAL,          )
28   INC. dba THE JOCKEY STORE; PA         )

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 1   ACQUISITION CORP. dba THE PAPER      )
     OUTLET; TOMMY HILLFIGER RETAIL, )
 2   LLC dba TOMMY HILLFIGER; TOTES       )
     ISOTONER CORPORATION dba TOTES )
 3   FACTORY WORLD; ULTRA STORES,         )
     INC. dba ULTRA DIAMOND OUTLET;       )
 4   PHILLIPS-VAN HEUSEN CORPORATION )
     dba VAN HEUSEN #235; VANS, INC. dba )
 5   VANS, INC.; VITAMIN WORLD, INC. dba )
     VITAMIN WORLD INC. #4912;            )
 6   WATERFORD WEDGWOOD USA, INC. )
     dba WATERFORD WEDGWOOD;              )
 7   WELCOME HOME, INC. dba WELCOME )
     HOME; ROSEDALE WILSONS, INC. dba )
 8   WILSON’S LEATHER; ZUMIEZ, INC. dba )
     ZUMIEZ #243; PVH CK STORES, INC. dba )
 9   CALVIN KLEIN; HUSH PUPPIES RETAIL,)
     INC. dba HUSH PUPPIES & FAMILY #614; )
10   GUESS? RETAIL, INC. dba GUESS;       )
     JONES RETAIL CORP. dba EASY SPIRIT; )
11   ZALE DELAWARE, INC. dba ZALES; D.G. )
     SMITH ENTERPRISES, INC. dba TACO     )
12   BELL; DAYJOYCE ENTERPRISES, INC. )
     dba MRS. FIELDS; DAYJOYCE            )
13   ENTERPRISES INC. dba PRETZEL TIME; )
     DAYJOYCE ENTERPRISES INC. dba        )
14   TCBY,                                )
                                          )
15                          Defendants.   )
                                          )
16

17          Defendant BEAR CREEK STORES, INC. dba HARRY AND DAVID
18   (“Defendant”) and Plaintiff GARY PALMER (“Plaintiff”) (collectively, the “Parties”)
19   hereby stipulate and agree as follows:
20          WHEREAS, Plaintiff filed a Complaint in the above-captioned matter in the United
21   States District Court in and for the Eastern District of California on September 23 , 2005
22   (the “Complaint”); and
23          WHEREAS, Plaintiff served the Complaint upon Defendant on October 13, 2005;
24   and
25          WHEREAS, Plaintiff granted all defendants listed in the caption above an initial
26   extension of time, until November 30, 2005, to file responsive pleadings; and
27          WHEREAS, Defendant’s responsive pleading is currently due on November 30,
28   2005; and

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 1          WHEREAS, the Parties are currently negotiating to determine whether they may be

 2   able to resolve this matter without the need for further litigation;

 3          NOW THEREFORE, THE PARTIES HEREBY STIPULATE as follows:

 4          1.      Plaintiff agrees to extend the time for Defendant to file a responsive pleading

 5   to the Complaint until December 30, 2005; and

 6          2.      Defendant agrees that, notwithstanding the agreed-upon extension of time to

 7   file a responsive pleading, it will participate in the preparation and filing of the Joint Status

 8   Report, which Defendant is informed and believes is due to be filed with the Court on

 9   December 7, 2005.

10   Dated: November 29, 2005               LYNN HUBBARD, III
                                            SCOTTLYNN J. HUBBARD, IV
11                                          LAW OFFICES OF LYNN HUBBARD
                                            12 Williamsburg Lane
12                                          Chico, CA 95926

13                                          By:              /s/ Lynn Hubbard, Esquire
                                                       (as authorized November 29, 2005)
14                                                                 Lynn Hubbard
                                            Attorney for Plaintiff GARY PALMER
15
     Dated: November 29, 2005               PILLSBURY WINTHROP SHAW PITTMAN LLP
16                                          GREG L. JOHNSON
                                            CHRISTOPHER RODRIGUEZ
17                                          400 Capitol Mall, Suite 1700
                                            Sacramento, CA 95814-4419
18
                                            By:               /s/ Greg L. Johnson
19                                                              Greg L. Johnson
                                            Attorneys for Defendant
20                                          BEAR CREEK STORES, INC. dba
                                            HARRY AND DAVID
21
     APPROVED AS STATED.
22
     Dated: December 1, 2005
23
                                                  __________________________________
24                                                MORRISON C. ENGLAND, JR
25                                                UNITED STATES DISTRICT JUDGE

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